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               Exhibit 13
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James Judah

From:                             James Judah
Sent:                             Monday, October 02, 2017 3:48 PM
To:                               John Cooper; Gonzalez, Arturo J.
Cc:                               Samuel Kitchens; Rivera, Sylvia; Melanie.Blunschi@lw.com; DG-
                                  GPOttoTruckingWaymo@goodwinlaw.com; UberWaymoMoFoAttorneys;
                                  BSF_EXTERNAL_UberWaymoLit@BSFLLP.com; Uber-sg@LISTS.SUSMANGODFREY.COM;
                                  Matthew Cate; QE-Waymo
Subject:                          RE: Waymo v. Uber - Slack Access


Counsel –

On our meet and confer this afternoon, Uber indicated that it is still trying to determine whether the Ottomotto Slack
materials, referenced repeatedly in the Stroz Report, still exist. Uber said it would provide an update later today. Uber
confirmed that it did not collect or produce any Ottomotto Slack materials in this litigation.

Best,
James

From: John Cooper [mailto:JCooper@fbm.com]
Sent: Monday, October 02, 2017 1:01 PM
To: James Judah <jamesjudah@quinnemanuel.com>; Gonzalez, Arturo J. <AGonzalez@mofo.com>
Cc: Samuel Kitchens <samuelkitchens@quinnemanuel.com>; Rivera, Sylvia <SRivera@mofo.com>;
Melanie.Blunschi@lw.com; DG-GPOttoTruckingWaymo@goodwinlaw.com; UberWaymoMoFoAttorneys
<UberWaymoMoFoAttorneys@mofo.com>; BSF_EXTERNAL_UberWaymoLit@BSFLLP.com; Uber-
sg@LISTS.SUSMANGODFREY.COM; Matthew Cate <MCate@fbm.com>; QE-Waymo <qewaymo@quinnemanuel.com>
Subject: RE: Waymo v. Uber - Slack Access

Counsel

We can have a meet and confer session on this at 3:00 pm this afternoon. Call in 888 759 6039 access 415 954
4410. Please send an email in the event such a call is no longer necessary. John

From: James Judah [mailto:jamesjudah@quinnemanuel.com]
Sent: Monday, October 02, 2017 12:57 PM
To: Gonzalez, Arturo J.; Cooper, John (19) x4410
Cc: Samuel Kitchens; Rivera, Sylvia; Melanie.Blunschi@lw.com; DG-GPOttoTruckingWaymo@goodwinlaw.com;
UberWaymoMoFoAttorneys; BSF_EXTERNAL_UberWaymoLit@BSFLLP.com; Uber-sg@LISTS.SUSMANGODFREY.COM;
Cate, Matthew (20) x4469; QE-Waymo
Subject: RE: Waymo v. Uber - Slack Access

Counsel and John –

We still have not heard back regarding Uber’s access to the Ottomotto Slack materials, and whether any of that material
has been searched and produced for this litigation. John, we request a call to discuss this issue.

Also, please provide the Stroz invoices, and/or the verified and admissible invoice information, by close of business
today.


                                                             1
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Best,
James

From: Gonzalez, Arturo J. [mailto:AGonzalez@mofo.com]
Sent: Thursday, September 28, 2017 9:53 PM
To: John Cooper <JCooper@fbm.com>
Cc: James Judah <jamesjudah@quinnemanuel.com>; Samuel Kitchens <samuelkitchens@quinnemanuel.com>; Rivera,
Sylvia <SRivera@mofo.com>; Melanie.Blunschi@lw.com; DG-GPOttoTruckingWaymo@goodwinlaw.com;
UberWaymoMoFoAttorneys <UberWaymoMoFoAttorneys@mofo.com>; BSF_EXTERNAL_UberWaymoLit@BSFLLP.com;
Uber-sg@LISTS.SUSMANGODFREY.COM; Matthew Cate <MCate@fbm.com>; QE-Waymo
<qewaymo@quinnemanuel.com>
Subject: Waymo v. Uber - Slack Access

John,

We will contact the client regarding this issue but are unlikely to have a response by 10:00 am

Arturo

Sent from my iPhone

On Sep 28, 2017, at 9:18 PM, John Cooper <JCooper@fbm.com> wrote:

         - External Email -

         Counsel

         We can address this issue at 10:00 also if Stroz is not necessary. John

         John L. Cooper
         Farella Braun + Martel LLP
         Direct: 415 954 4410
         jcooper@fbm.com

         On Sep 28, 2017, at 9:15 PM, James Judah <jamesjudah@quinnemanuel.com> wrote:

                   John –

                   Similarly, we would request discussing Uber’s access to the Slack channel (which is
                   separate from the issue of Stroz’s) on the 10 AM call.

                   James

                   From: John Cooper [mailto:JCooper@fbm.com]
                   Sent: Thursday, September 28, 2017 9:02 PM
                   To: Samuel Kitchens <samuelkitchens@quinnemanuel.com>
                   Cc: SRivera@mofo.com; Melanie.Blunschi@lw.com; DG-
                   GPOttoTruckingWaymo@goodwinlaw.com; UberWaymoMoFoAttorneys@mofo.com;
                   BSF_EXTERNAL_UberWaymoLit@BSFLLP.com; Uber-sg@LISTS.SUSMANGODFREY.COM;
                   Matthew Cate <MCate@fbm.com>; QE-Waymo <qewaymo@quinnemanuel.com>
                   Subject: Re: Waymo v. Uber - Slack Access


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 Counsel

 This will be added to the session at 1:00 pm.

 John

 John L. Cooper
 Farella Braun + Martel LLP
 Direct: 415 954 4410
 jcooper@fbm.com

 On Sep 28, 2017, at 8:54 PM, Samuel Kitchens <samuelkitchens@quinnemanuel.com>
 wrote:

           Counsel and John,

           The Stroz report references a Slack channel accessed by Ottomotto
           employees in 2015 and 2016. It appears based upon these references
           that Stroz had access to this Slack channel and reviewed it as part of its
           investigation. See pg. 12, 19 (noting that review showed when
           Levandowski and Ron accessed Slack). Could you each please confirm
           whether Uber or Stroz currently have, or previously had, access to this
           Slack channel, and, if so, whether the information from that Slack
           channel has been collected and made available to Waymo, either
           through a production or on Stroz’s Relativity database?

           We’d ask that this be added to tomorrow’s 10 AM meet and confer.

           Best,

           Sam

           Samuel Kitchens
           Associate
           Quinn Emanuel Urquhart & Sullivan, LLP

           51 Madison Avenue, 22nd Floor
           New York, NY 10010
           212-849-7437 Direct
           212-849-7000 Main Office Number
           212-849-7100 FAX
           samuelkitchens@quinnemanuel.com
           www.quinnemanuel.com

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                                               Farella Braun + Martel LLP



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